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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                     Court File No. 15-cr-165 (JRT/LIB) (2), (7)

                 Plaintiff,
                                                                      ORDER AND
v.                                                            REPORT AND RECOMMENDATION

William David Alonzo (2), and
Timothy Joseph Beaulieu, Jr. (7),

                 Defendants.


        This matter comes before the undersigned United States Magistrate Judge upon

Defendant William David Alonzo’s (“Defendant Alonzo”) Motion for Severance or, in the

Alternative, to Join the Co-Defendant’s Motions, [Docket No. 669]; Defendant Alonzo’s Motion

to Suppress Evidence Found in Vehicle, [Docket No. 671]; Defendant Alonzo’s Motion to

Suppress Defendant’s Statements, Admissions, and Answers, [Docket No. 672]; and Defendant

Timothy Joseph Beaulieu, Jr.’s (“Defendant Beaulieu”) Motion to Suppress Evidence and

Statements, [Docket No. 855]. This case has been referred to the undersigned Magistrate Judge

for a report and recommendation, in accordance with 28 U.S.C. § 636(b)(1) and Local Rule 72.1.

The Court held a motions hearing on October 20, 2015, regarding the parties’ pretrial motions.1

At the motion hearing, the Court granted the parties’ requests for the opportunity to provide

supplemental briefing. The Court took Defendant Alonzo’s Motion for Severance or, in the

Alternative, to Join the Co-Defendant’s Motions, [Docket No. 669]; Defendant Alonzo’s Motion

to Suppress Evidence Found in Vehicle, [Docket No. 671]; Defendant Alonzo’s Motion to

Suppress Defendant’s Statements, Admissions, and Answers, [Docket No. 672]; and Defendant


1
 The Court addressed the parties pretrial motions for discovery and for production of evidence by separate Orders,
[Docket Nos. 972, 992].
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Beaulieu’s Motion to Suppress Evidence and Statements, [Docket No. 855], under advisement

on November 15, 2015.

        For the reasons discussed herein, the Court will DENY by Order Defendant Alonzo’s

Motion for Severance or, in the Alternative, to Join the Co-Defendant’s Motions, [Docket No.

669], to the extent that Defendant Alonzo seeks to join in all of the motions of his co-defendants.

        Also, for the reasons discussed further herein, the Court issues its Report and

Recommendation that Defendant’s Alonzo’s Motion for Severance or, in the Alternative, to Join

the Co-Defendant’s Motions, [Docket No. 669], be DENIED to the extent that Defendant

Alonzo seeks severance of the trial of his case from those of his co-defendants; the Court also

recommends that Defendant Alonzo’s Motion to Suppress Evidence Found in Vehicle, [Docket

No. 671] be DENIED; that Defendant’ Alonzo’s Motion to Suppress Defendant’s Statements,

Admissions, and Answers, [Docket No. 672], be DENIED; and that Defendant Beaulieu’s

Motion to Suppress Evidence and Statements, [Docket No. 855], be DENIED.

   I.      BACKGROUND AND STATEMENT OF FACTS

   A. Background

        On May 20, 2015, Defendant Alonzo and Defendant Beaulieu were indicted with charges

of conspiracy to distribute heroin, methamphetamine, oxycodone, hydromorphone, hydrocodone,

and methadone, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(C), and 846;

aiding and abetting possession with intent to distribute heroin, in violation of 18 U.S.C. § 2 and

21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B); aiding and abetting possession with intent to distribute

hydrocodone, methadone, and oxycodone, in violation of 18 U.S.C. § 2 and 21 U.S.C. §§

841(a)(1) and 841(b)(1)(C); and aiding and abetting possession of a firearm during and in




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relation to a drug trafficking crime, in violation of 18 U.S.C. §§ 2 and 924(c). (Indictment

[Docket No. 1]).

    B. Facts2

        In October of 2014, Drug Enforcement Agency (“DEA”) Task Force Officer Thomas

Maloney (“TFO Maloney”) joined a narcotics trafficking investigation of Defendant Omar Sharif

Beasley (“Defendant Beasley”). During the course of the investigation, law enforcement officials

received authorization to conduct electronic surveillance and intercepts of a cellular phone used

by Defendant Beasley. The investigating officers learned that Defendant Beasley had on several

occasions turned his cellular phone off while travelling between Minneapolis, Minnesota, and

Detroit, Michigan, for the purpose of transporting illegal narcotics.

        On March 8, 2015, Defendant Beasley, who had at that time been in the Detroit area, shut

off his cellular phone, which led the investigating officers to conclude that Defendant Beasley

may have been returning to Minneapolis with a quantity of illegal narcotics, specifically heroin.

        On the morning of March 9, 2015, the investigating officers received a cell tower signal

from Defendant Beasley’s cellular phone that indicated that the phone was then in Wisconsin.

Based on that information, the officers set up visual surveillance on major traffic routes looking

for a white BMW vehicle that they associated with Defendant Beasley. The officers later

received additional cell tower information which placed the location of the cellular phone closer

to the Minneapolis area. In an attempt to locate Defendant Beasley’s vehicle, the investigating




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 The facts are derived from the testimony of Minnesota State Highway Patrol Trooper Christopher James,
Minnesota State Highway Patrol Trooper Michael Flanagan, and Drug Enforcement Agency Task Force Officer
Thomas Maloney at the October 20, 2015, motions hearing. After that motions hearing, Defendant Beaulieu
submitted 16 pages of exhibits attached to his supplemental memorandum in support of his motion. Those exhibits
were not offered at the motions hearing and Defendant did not seek leave of Court to submit those exhibits after the
motions hearing. The Court has not relied on those proposed exhibits in drafting the statement of facts.

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officers split up to go to various areas in and around Minneapolis that they knew Defendant

Beasley to frequent.

       During the late afternoon of March 9, 2015, the investigating officers located Beasley and

a number of his known associates at the Quality Inn hotel located in Brooklyn Center, a suburb

of Minneapolis. The officers, including TFO Maloney, set up visual surveillance of the hotel.

While conducting surveillance of the hotel, the officers identified three vehicles in the hotel’s

parking lot that they linked to Defendant Beasley and his associates, a tan Jeep Grand Cherokee

(“the Jeep”) bearing Red Lake Nation license plates, a white BMW (“the BMW”) with Michigan

plates, and a gold Pontiac Bonneville (“the Pontiac”).

       At approximately 10 p.m. that same evening, TFO Maloney observed Defendant Beasley

and six or seven of his associates leave the Quality Inn hotel. Defendant Beaulieu and Defendant

Alonzo were among the members of that group. The group was carrying different types of bags,

including duffle bags, shopping bags, and garbage bags. Most of the bags were placed in the

cargo area of the Jeep. Other bags were placed into the BMW and the Pontiac. TFO Maloney

saw the members of the group get into the three vehicles, including Defendant Beaulieu, whom

he saw get into the driver’s seat of the Jeep. TFO Maloney then observed as Defendant Beasley

drove the BMW out of the parking lot and drive north on interstate 94 towards Saint Cloud,

Minnesota, followed in tandem by Jeep and the Pontiac. TFO Maloney and other investigating

officers followed. The BMW, the Jeep, and the Pontiac all eventually turned together onto

Minnesota Highway 10 headed north.

       TFO Maloney then contacted Minnesota State Highway Patrol Trooper Michael Flanagan

for the purpose of setting up a stop of the Jeep, which the investigating officers suspected to be

most likely to contain narcotics. At that time, Trooper Flanagan was assigned as a handler for



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Layka, a narcotics detection dog. Layka is trained to detect base and derivative odors of

marijuana, cocaine, heroin, methamphetamine, and mushrooms. Trooper Flanagan and Layka

have been certified annually in narcotics detection since January 2014, and they frequently assist

other agencies with traffic stops by doing sniff-searches for illegal narcotics. Since that time

Layka has performed approximately 150 sniff-searches, and these have resulted in an accuracy

rate of detecting narcotics of greater than 93%.

       TFO Maloney informed Trooper Flanagan that a vehicle that the investigating officers

suspected of being involved in narcotics trafficking was travelling away from the metro area,

possibly carrying a quantity of illegal narcotics. TFO Maloney asked Trooper Flanagan to assist

with a potential stop of the vehicle. Trooper Flanagan indicated that he and Layka would begin

heading towards Saint Cloud and provided TFO Maloney with the number of Minnesota State

Highway Patrol Trooper Christopher James as an officer who worked closer to the area the

vehicles were travelling in and who could possibly intercept the Jeep.

       TFO Maloney then called Trooper James, who was on patrol in Benton County that

evening. TFO Maloney informed Trooper James that the Jeep was suspected of transporting

heroin and asked him to be on the lookout for the Jeep. TFO Maloney instructed Trooper James

to follow the Jeep if he spotted it and to initiate a traffic stop of the Jeep if he observed any

traffic violations. TFO Mahoney also told Trooper James that Trooper Flanagan would soon be

in the area and would assist with a traffic stop.

       Trooper Flanagan later received a second call informing him that the Jeep was at that

time travelling north of Saint Cloud, Minnesota, and that Trooper James was going to intercept

the Jeep if a traffic violation was observed. Trooper Flanagan and Layka continued to travel




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towards the area north of Saint Cloud for the purpose of conducting a sniff-search of the Jeep in

the event that Trooper James was able to stop it.

         Trooper James was traveling northbound on Minnesota Highway 10 in Benton County

when he spotted the Jeep. He turned to follow the Jeep and turned on his squad car’s camera. As

he followed the Jeep, Trooper James observed the Jeep weave in its lane, driving onto the center

line and then onto the fog line. After Trooper James had followed the Jeep for several miles, the

two vehicles drove into an area in Rice, Minnesota, that was lit by street lights illuminating an

on-ramp. While the vehicles passed through this lit area, Trooper James could see inside the

Jeep. Trooper James could see two people inside, the driver and a passenger sitting on the right

side of the backseat of the Jeep. Trooper James could also see that the seat belt strap of the rear

passenger’s seat belt was hanging free, from which Trooper James concluded that the passenger

did not have a seatbelt on. Based on his earlier observations that the Jeep had been weaving so as

to cross onto the center line and the fog line, and that the rear passenger was not wearing a seat

belt, Trooper James then initiated a traffic stop of the Jeep by turning on his emergency lights.3

         The Jeep was slow to stop once Trooper James turned on his emergency lights,

eventually pulling over to stop on the side of the road approximately a quarter of a mile beyond

the point at which Trooper James had activated his emergency lights.

         Once both of the vehicles came to a stop, Trooper James exited his squad car and

approached the Jeep on the driver’s side. At that time, Trooper James could see that the front




3
  See Minn. Stat. § 169.686 (setting forth fines for vehicle occupant’s failure to wear a properly adjusted and
fastened seat belt; see also State v. Wendorf, 814 N.W.2d 359, 362 (Minn. Ct. App. 2012) (noting that previous
provisions of Minn. Stat. § 169.686 prohibiting an officer from issuing a citation for failure to wear a seatbelt unless
the officer had stopped the motor vehicle for a different violation had been removed when the statute was amended
in 2009).



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passenger seat of the Jeep was empty. Trooper James observed that both the driver and the

passenger had freshly lit cigarettes.

       Trooper James began speaking to the driver, whom he was able to identify as Defendant

Beaulieu. Trooper James asked Defendant Beaulieu questions about where he and the passenger,

whom Trooper James later identified as Defendant Alonzo, had come from and where they were

going. Both Defendant Beaulieu and Defendant Alonzo were cooperative during the encounter.

Defendant Beaulieu told Trooper James that the Jeep had weaved because he was trying to find a

cigarette. He also told Trooper James that Defendant Alonzo was sitting in the back seat because

cold air blew into the car on the passenger side. Defendant Alonzo, however, repeatedly

interrupted Defendant Beaulieu to answer Trooper James’s questions. Defendant Alonzo told

Trooper James that he and Defendant Beaulieu were friends, had met up in the Minneapolis area

where they had been shopping at a Macy’s, and were headed to back the Red Lake area. Trooper

James found it unusual that Defendant Alonzo was interrupting Defendant Beaulieu to provide

answers to Trooper James’ questions.

       Trooper James then returned to his squad car to run a computer records check on

Defendant Beaulieu’s and Defendant Alonzo’s licenses. As he walked back to the squad car, he

looked into the back of the Jeep, and he could not see any Macy’s shopping bags.

       Trooper Flanagan, who had earlier arrived on the scene shortly after Trooper James had

pulled the Jeep over, was standing by Trooper James’ squad car when Trooper James returned to

it to run the computer records check. Trooper James told Trooper Flanagan that the Defendants

stated they were traveling from the Minneapolis area to the Red Lake area. He also told Trooper

Flanagan that, during his initial encounter with them, the Defendants both had freshly lit

cigarettes; that Defendant Alonzo was sitting in the back seat of the Jeep while the front right



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passenger seat remained empty; that Defendant Alonzo, the passenger, had interrupted to answer

Trooper James’ questions rather than letting Defendant Beaulieu answer; and that he had not

seen any bags from Macy’s in the back of the Jeep where Defendant Alonzo had said the two had

previously gone shopping. Trooper Flanagan was aware from his previous experience that the

Minneapolis metro area is a source area for illegal narcotics for the Red Lake Indian Reservation.

Trooper Flanagan told Trooper James that he believed that Trooper James’s observation were a

sufficient basis to conduct a dog sniff-search of the exterior of the Jeep for narcotics. The

troopers decided to ask Defendant Beaulieu for consent to search the Jeep and, in the event that

they did not receive it, to conduct a dog sniff-search of the exterior of the Jeep.

       Trooper James then returned to the Jeep and asked Defendant Beaulieu to step out of the

vehicle so that he could issue Defendant Beaulieu a warning for the observed traffic violations.

When Defendant Beaulieu was outside the jeep, Trooper James gave him a written warning and

asked him if the troopers could search the Jeep. Defendant Beaulieu did not give the troopers

permission to search the Jeep.

       At that point, Trooper Flanagan immediately took over the encounter. Trooper Flanagan

went to speak to Defendant Alonzo to request that he exit the Jeep. At that time, Trooper

Flanagan detected an odor of marijuana coming from the interior of the Jeep. Trooper Flanagan

then had Defendant Alonzo step out from the Jeep. Trooper Flanagan retrieved Layka from his

squad car and the troopers had the Defendants stand in front of the Jeep while Trooper Flanagan

walked Layka around it, conducting a sniff-search. Layka gave signals at the driver’s door and at

the beam between the front and rear passenger side doors of the Jeep indicating that she had

detected strong odors of at least one of the narcotics that she is trained to detect. Trooper

Flanagan then put Layka in the Jeep, where she alerted several more times indicating that she



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had detected narcotics odors. The troopers then personally searched the Jeep, during which they

located prescription pills and a firearm in a white garbage bag in the rear compartment of the

Jeep as well as two clear plastic baggies containing marijuana in the passenger compartment, all

of which Trooper Flanagan took into his custody. Trooper Flanagan then transported the seized

items to DEA Special Agent Travis Ocken (“SA Ocken”) and TFO Maloney, who were parked

approximately a quarter mile south of the scene of the traffic stop.

       Trooper James and another trooper who had subsequently arrived at the scene in the

interim then arrested the Defendants and transported them to the Benton County jail.

       On March 10, 2015, at approximately 2 p.m., TFO Maloney and SA Ocken went to the

Benton County jail to interview Defendant Beaulieu and Defendant Alonzo. The staff of the

Benton County jail directed the officers to a small interview room inside the jail. The room was

10’ by 10’ with only a single door. There was no recording system in the room. As a result, the

officers did not record the interviews because DEA policy requires that specific equipment be

used in recording interviews and in its absence that a recording not be made.

       The jail staff first brought Defendant Beaulieu to the room. Defendant Beaulieu was not

restrained during the interview. The officers shut the door to the interview room. TFO Maloney

and SA Ocken identified themselves as law enforcement officers, confirmed Defendant

Beaulieu’s identity, and then read Defendant Beaulieu the Miranda warnings. To TFO Maloney,

Defendant Beaulieu appeared to be physically and mentally sound and not under the influence of

intoxicants. Defendant Beaulieu appeared to understand the warnings. Defendant Beaulieu also

indicated that he understood the Miranda rights and indicated that he was willing to speak to the

officers. During the interview, Defendant Beaulieu appeared to understand the questions being

asked of him and responded to the questions in an appropriate manner. The officers were



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unarmed and did not threaten Defendant Beaulieu or make any promises to him to get him to

speak to them. Defendant Beaulieu cooperated with the interview, but appeared to TFO Maloney

to not be completely forthcoming in his answers to questions.

       During the interview, which lasted between twenty and thirty minutes, Defendant

Beaulieu indicated that he was the sole driver of the Jeep, that it belonged to him, and that it was

registered in the name of his mother. Defendant Beaulieu eventually indicated that he did not

want to the talk to the officers any further. The officers then terminated the interview and had

Defendant Beaulieu returned to his cell.

       The jail staff then brought Defendant Alonzo to the interview room. To TFO Maloney,

Defendant Alonzo appeared to be mentally and physically sound and not under the influence of

intoxicants. TFO Maloney and SA Ocken identified themselves to Defendant Alonzo as law

enforcement officers, confirmed Defendant Alonzo’s identity, and then read Defendant Alonzo

the Miranda warnings. To TFO Maloney, Defendant Alonzo appeared to understand the

warnings. Defendant Alonzo indicated that he understood the Miranda rights and indicated that

he was willing to speak to the officers. Defendant Alonzo appeared to understand the questions

being asked of him and responded to the questions in an appropriate manner. The officers did not

threaten Defendant Alonzo or make any promises to him to get him to speak to them. Defendant

also Alonzo cooperated during his interview.

       The interview of Defendant Alonzo lasted approximately an hour. Defendant Alonzo

initially told the officers that a cousin had driven him from Detroit to Minneapolis, where he had

stayed at a hotel for several days, during which he had taken the firearm and a bundle of drugs

from a different hotel room where he had found the door left open.




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       TFO Maloney questioned Defendant Alonzo about the likelihood of his statements.

Defendant Alonzo then told TFO Maloney to “rip it up,” which TFO Maloney took as Defendant

Alonzo saying that his previous statements were false.

       Defendant Alonzo told TFO Maloney that he had purchased narcotics from individuals in

Detroit; that he had traveled to Minnesota; that he knew there were drugs inside the bundles in

the Jeep; and that he had purchased rather than found the gun seized during the traffic stop.

Defendant Alonzo then became reluctant to continue speaking. SA Ocken asked Defendant

Alonzo if he did not want to continue talking because he did not want to inform on his

associates, to which Defendant Alonzo nodded. The officers then ended the interview.

       Defendant Beaulieu and Defendant Alonzo were subsequently released from the Benton

County jail.

       On May 27, 2015, officers arrested a number of individuals charged in the present case,

including Defendant Beaulieu. TFO Maloney and another task force officer interviewed

Defendant Beaulieu at the Beltrami County Sheriff’s Office, where he was being held in custody.

The officers interviewed Defendant Beaulieu in a slightly larger room that contained a small

conference table, chairs, a sink, and a vending machine. The officers again did not record the

interview.

       After Defendant Beaulieu was brought into the room, the officers began the interview by

reading him the Miranda warnings. To TFO Maloney, Defendant Beaulieu appeared to be

mentally and physically sound, and not under the influence of intoxicants. Defendant Beaulieu

appeared to understand the warnings and affirmatively indicated that he understood the Miranda

rights and was willing to speak to the officers. Defendant Beaulieu also appeared to understand




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the questions being asked of him and responded in an appropriate manner. The officers did not

threaten Defendant Beaulieu or make any promises to him to get him to speak to them.

       Defendant Beaulieu was cooperative during the forty-five minute interview. He told the

officers that he had met Defendant Beasley in the fall of 2014, after which he began working for

him as a driver. Defendant Beaulieu stated that he had driven other people to Defendant

Beasley’s location; he had previously driven Defendant Beasley; and he had also previously

driven Defendant Michael Dominguez. Defendant Beaulieu also stated that he believed that his

passengers were transporting currency. Defendant Beaulieu stated that he typically was paid in

currency or heroin for each time he transported someone for Defendant Beasley.

       With regard to the March 9, 2015, traffic stop, Defendant Beaulieu stated that he had

travelled from the Red Lake Indian Reservation to Minneapolis with Defendant Alonzo, whom

he referred to as “Trey,” several days before March 9th; that Defendant Alonzo had paid for a

hotel room for Defendant Beaulieu and for gasoline; and that he had seen Defendant Beasley and

others at the hotel mixing seventy-five (75) to one hundred (100) grams of heroin into two

hundred (200) grams. After the other task force officer sternly interjected saying to Defendant

Beaulieu that the officers were not going to spend all day with him in order to get only a few

minutes’ worth of information, Defendant Beaulieu told the officers that he did not wish to speak

to them further. The officers then terminated the interview.




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    II.      DEFENDANT BEAULIEU’S MOTION TO SUPPRESS EVIDENCE AND
             STATEMENTS, [Docket No. 855]

          Defendant Beaulieu moves the Court to suppress all evidence obtained as a result of the

March 9, 2015, traffic stop, including, as a product of the allegedly unlawful stop, the statements

that he made during the March 10, 2015, and May 27, 2015, interviews.4

          A. Traffic Stop

          Defendant Beaulieu first moves the Court to suppress evidence gathered as a result of the

March 9, 2015, traffic stop of the Jeep, arguing that Trooper James did not have a reasonable

articulable suspicion of unlawful activity on which to initiate the original stop and, in any event,

Troopers James and Flanagan impermissibly extended the duration of the stop under Rodriguez

v. United States, 135 S. Ct. 1609 (2015). The Government argues that the traffic violations

witnessed by Trooper James were sufficient to provide a basis for the initial stop, and that the

Troopers did not unlawfully extend the stop to have Layka conduct a sniff-search of the vehicle.

          1. Standard of Review

          “The Fourth Amendment provides that “the right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be

violated.” United States v. Jones, 269 F.3d 919, 924 (8th Cir. 2001) (quoting U.S. Const. amend.

IV). Roadside traffic stops constitute seizures for the purposes of the Fourth Amendment. See,

e.g., Delaware v. Prouse, 440 U.S. 648, 653 (1979). To be lawful, a traffic stop must be

supported by at least a reasonable, articulable suspicion that a crime is being committed. Jones,

269 F.3d at 924 (citing Prouse, 440 U.S. at 663).


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  Defendant Beaulieu filed his motion to suppress after the deadline set by the Court and asks the Court to
nevertheless rule on the motion. In support Defendant Beaulieu represents that his counsel had some trouble getting
the Government’s discovery in the present case because of its volume, which delayed his ability to file a suppression
motion. The Court concludes that good cause exists to excuse the late filing of Defendant Beaulieu’s motion to
suppress.

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       Once a stop has been lawfully initiated, the officer is entitled to conduct an investigation,

the scope of which must be reasonably related to the circumstances which gave rise to the stop.

Rodriguez, 135 S. Ct. at 1614; Terry v. Ohio, 392 U.S. 1, 20 (1968); see also United States v.

Cummins, 920 F.2d 498, 502 (8th Cir. 1990), cert. denied, 502 U.S. 962 (1991). “The scope of a

Fourth Amendment intrusion ‘will vary to some extent with the particular facts and

circumstances of each case.’” Jones, 269 F.3d at 924 (quoting Florida v. Royer, 460 U.S. 491,

500 (1983)). “The scope of the detention must be carefully tailored to its underlying

justification.” Royer, 460 U.S. at 500. “A traffic stop can become unlawful, however, if it is

“prolonged beyond the time reasonably required” to complete its purpose.” United States v.

Olivera-Mendez, 484 F.3d 505, 509 (8th Cir. 2007) (quoting Illinois v. Caballes, 543 U.S. 405,

408 (2005)). Accordingly, for an officer to lawfully prolong a stop beyond the time reasonably

necessary to complete the tasks relating to the basis for the stop, the officer must have a

reasonable articulable suspicion of further criminal activity. Rodriguez, 135 S. Ct. at 1615.

       2. Analysis

       Defendant first argues that Trooper James did not have a reasonable articulable suspicion

of criminal activity on which to initiate the original stop of the Jeep. Trooper James testified that

he had stopped the Jeep on the basis of the Jeep’s weaving onto the centerline and then back onto

the fog line, as well as, the fact that he saw that the back seat belt strap for Defendant Alonzo

was hanging free and unsecured, which led him to believe that the back seat passenger was not

wearing a seat belt as required by Minnesota statute.

       As Defendant acknowledges in his memorandum, in the Eighth Circuit, any traffic

violation, no matter how minor, will provide probable cause to justify a traffic stop. See, e.g.,

United States v. Houston, 548 F.3d 1151, 1153 (8th Cir. 2008). Defendant Beaulieu, however,



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argues that the stop in this case was based on pretext and not justified by any traffic violation,

asserting that Trooper James had been instructed to find a basis on which to stop the Jeep, that

the Jeep’s swerving over and onto the fog and center lines should be attributed to Trooper James

following the Jeep, and that Trooper James’s testimony that he could see the unsecured back seat

belt strap was not credible.

       The Court finds credible Trooper James’ testimony that he could see the back seat

shoulder belt strap hanging unsecured. Because Trooper James testified that could see that the

strap was hanging unsecured, he articulated a reasonable basis to suspect that Defendant Alonzo

was not wearing a seatbelt. In Minnesota, a passenger’s failure to wear a seatbelt is an

independent traffic violation that will justify initiating a stop of the vehicle. See State v.

Wendorf, 814 N.W.2d 359, 361-62 (Minn. Ct. App. 2012). Accordingly, Trooper James could

lawfully stop the Jeep on that basis alone. Because Trooper James had an objectively reasonable

articulable suspicion of a criminal activity on which to stop the Jeep, the mere fact that Trooper

James was also subjectively looking for such a basis is irrelevant. Whren v. United States, 517

U.S. 806, 813 (1996) (holding that an officer’s subjective intentions play no role in Fourth

Amendment analysis).

       Defendant Beaulieu next contends that, even if the initial stop was lawful, it became

unlawful when the troopers unreasonably extended the stop past the point at which Trooper

James concluded all tasks related to the initial stop by providing Defendant Beaulieu with the

written warning ticket regarding the seat belt and weaving in his lane. In support, Defendant

Beaulieu relies on Rodriguez v. United States, 135 S. Ct. 1609 (2015).

       In Rodriguez, a canine-paired officer stopped Rodriguez for driving on the shoulder, a

traffic violation. (Id. at 1613). After the officer completed all tasks relating to the basis for the



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stop, he asked Rodriguez for permission to allow his dog to conduct a sniff-search of the exterior

of Rodriguez’s vehicle. (Id.). Rodriquez did not consent. (Id.). The officer then detained

Rodriguez for approximately an additional seven minutes while he waited for a second officer to

arrive, then retrieved his dog and conducted a sniff-search of the exterior of the vehicle, during

which the dog indicated the presence of narcotics in the vehicle. (Id.). As a result, Rodriquez was

indicted on narcotics charges. (Id.). He later moved to suppress the evidence gathered as a result

of the stop. (Id.). The Magistrate Judge recommended that the motion be denied, concluding that

the officer did not have a reasonable articulable suspicion on which to prolong the stop after

completing all tasks related to the initial stop, but reasoning that the seven minute extension of

the stop was a de minimis intrusion on Rodriguez’s Fourth Amendment rights. (Id.). The district

court and the Eighth Circuit agreed. (Id. at 1614). The Supreme Court, however, reversed,

holding that the officer had been required to have a separate reasonable articulable suspicion of

criminal activity to extend the stop past the point at which he had completed all tasks related to

the initial traffic stop. (Id. at 1615).

         The Government asserts that here there was only a brief extension of the stop because

Trooper Flanagan began the sniff-search immediately after Trooper James had given the warning

ticket and Defendant Beaulieu refused his request to give his permission for the troopers to

search the vehicle. In essence, the Government asserts that the extension was only a de minimis

detention. However, the Supreme Court in Rodriquez held that even de minimis extensions of a

traffic stop must be supported by a reasonable articulable suspicion of criminal activity. (Id. at

1615).

         A court considers the totality of the circumstance, based on common sense judgments and

inferences about human behavior, when determining whether an officer had “at least a minimal



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level of objective justification” for prolonging a traffic stop. United States v. Stringer, 739 F.3d

391, 395 (8th Cir. 2014) (citing Illinois v. Wardlow, 528 U.S. 119, 125 (2000)).

       The present case is distinguishable from the facts of Rodriguez. In Rodriguez, the

Magistrate Judge had concluded that the officer did not have any objectively reasonable

articulable suspicion of further criminal activity beyond the initial basis for the traffic stop when

he further detained Rodriguez. Here, in contrast the troopers have articulated specific additional

facts that Trooper James observed during the stop. Those observations gave rise to an objectively

reasonable suspicion that Defendant Beaulieu and Defendant Alonzo were engaged in additional

criminal activity beyond merely weaving and travelling with an unsecured seatbelt. Specifically,

Trooper James observed that Defendant Alonzo kept interrupting Defendant Beaulieu to answer

Trooper James’ questions; that Defendant Alonzo, the only passenger, was sitting on the right

side of the back seat, despite the front passenger seat being unoccupied; that both Defendant

Beaulieu and Defendant Alonzo had freshly lit cigarettes; and that despite Defendant Alonzo

saying that the two had been shopping at a Macy’s, no Macy’s shopping bags were visible in the

cargo area of the Jeep. In fact, Trooper Flanagan testified at the motions hearing that Trooper

James’s observations, which were communicated to him when Trooper James returned to his

squad car to conduct the computer records search, were, in Trooper Flanagan’s training and

experience, consistent with drug related activity.

       The Eighth Circuit has noted that a passenger answering questions on behalf of a driver

during a traffic stop is an unusual behavior that can support a reasonable suspicion of additional

criminal activity. United States v. Quintero-Felix, 714 F.3d 563, 567 (8th Cir. 2013). Other

courts have considered an apparent inconsistency between a traveler’s story and the contents of

the vehicle, here the lack of any bags from a store at which Defendant Alonzo said the two had



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shopped earlier in the day, as a circumstance that can support a reasonable articulable suspicion

of criminal activity. See, e.g., United States v. Bravo, 306 F. App'x 436, 441 (10th Cir. 2009)

(noting apparent discrepancy between amount of baggage in vehicle and travelers’ stated purpose

of traveling for a honeymoon supported reasonable suspicion for criminal activity). Other courts

have considered strong smells from a vehicle interior as supporting a reasonable articulable

suspicion of criminal activity. See, e.g., United States v. Christian, 43 F.3d 527, 530 (10th Cir.

1994) (noting that a freshly lit cigarette is a technique often used to mask the smell of drugs).

Further, courts have considered a passenger’s unusual seating arrangement as a circumstance

that, in addition to other factors, may support a reasonable articulable suspicion of criminal

activity. See United States v. Bristol, 819 F. Supp. 2d 135, 143 (E.D.N.Y. 2011) (noting that

court must consider the passenger’s unusual seating arrangement when determining whether

reasonable articulable suspicion of criminal activity existed, even though the unusual seating

arrangement by itself was insufficient to satisfy the standard).

        On the totality of the circumstances, the Court concludes that the observations of the

troopers prior to Trooper James giving Defendant Beaulieu a written warning, are independent

articulable facts that created an objectively reasonable suspicion of additional criminal activity

sufficient to prolong the stop very briefly, in order to conduct the dog-sniff search of the exterior

of the Jeep here; all of which occurred almost immediately after Trooper James completed the

tasks necessarily related to the basis for the initial traffic stop.

        On the basis of all of the foregoing, the Court recommends DENYING Defendant

Beaulieu’s Motion to Suppress Evidence and Statements, [Docket No. 855], to the extent that

Defendant Beaulieu seeks to suppress evidence arising as a result of the initiation of the traffic




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stop or the troopers briefly prolonging the stop in order to conduct the dog-sniff search at issue

here.

         B. Statements

         Defendant Beaulieu also moves the Court to suppress the statements that he made during

the March 10, 2015, and May 27, 2015, custodial interviews. The only basis on which Defendant

Beaulieu suggests that those statements should be suppressed is that they arose as a result of and

are therefore tainted by the allegedly unlawful traffic stop and subsequent road side searches of

his vehicle on March 9, 2015, by Troopers James and Flanagan.

         “Under the ‘fruit of the poisonous tree’ doctrine, the exclusionary rule bars the admission

of physical evidence and live witness testimony obtained directly or indirectly through the

exploitation of police illegality.” United States v. Simpson, 439 F.3d 490, 493-94 (8th Cir. 2006)

(citing Hamilton v. Nix, 809 F.2d 463, 465 (8th Cir. 1987)).

         Because the Court has already concluded that both the initial traffic stop of the Jeep and

the brief prolonging of the stop to conduct the dog-sniff search at issue here were supported by

independent and separate appropriate reasonable suspicions of criminal activity, Defendant

Beaulieu’s argument that his statements should be suppressed as fruit of the poisonous tree

necessarily fails.

         Accordingly, the Court recommends DENYING Defendant Beaulieu’s Motion to

Suppress Evidence and Statements, [Docket No. 855], to the extent that Defendant Beaulieu

seeks to suppress the custodial statements that he made during the March 10, 2015, and May 27,

2015, interviews.




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   III.      DEFENDANT ALONZO’S MOTION TO SUPPRESS EVIDENCE FOUND IN
             VEHICLE, [Docket No. 671]

          Defendant Alonzo also moves the Court to suppress evidence gathered as a result of the

traffic stop of Defendant Beaulieu’s vehicle on March 9, 2015. He similarly argues that Trooper

James did not have a reasonable articulable suspicion of criminal activity on which to originally

stop the vehicle, and that the troopers did not have an independent reasonable articulable

suspicion of additional criminal activity on which to briefly prolong the stop to conduct the dog-

sniff search. These arguments fail for the reasons the Court already set forth with respect to

Defendant Beaulieu’s Motion to Suppress Evidence and Statements, [Docket No. 855]. See

Section II.A.2, above.

          Accordingly, the Court also recommends DENYING Defendant Alonzo’s Motion to

Suppress Evidence Found in Vehicle, [Docket No. 671].

   IV.       DEFENDANT ALONZO’S MOTION TO SUPPRESS DEFENDANT’S
             STATEMENTS, ADMISSIONS, AND ANSWERS, [Docket No. 672]

          Defendant Alonzo also moves the Court to suppress the statements that he made during

the March 10, 2015, custodial interview solely on the basis that the interview the tainted product

of the allegedly unlawful traffic stop and subsequent road side searches of Defendant Beaulieu’s

vehicle on March 9, 2015.

          As the Court has already concluded that the initial stop and subsequent searches of

Defendant Beaulieu’s vehicle on March 9, 2015, were lawful, the Court recommends

DENYING Defendant Alonzo’s Motion to Suppress Defendant’s Statements, [Docket No. 672].




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   V.      DEFENDANT ALONZO’S MOTION FOR SEVERANCE OR, IN THE
           ALTERNATIVE TO JOIN THE CO-DEFENDANT’S MOTIONS, [Docket No.
           669]

        Defendant Alonzo moves the Court to sever the trial of his case from that of his co-

defendants. In the alternative, Defendant Alonzo seeks leave of the Court to join in all the

pretrial motions of his co-defendants.

        A. Severance

        Defendant Alonzo moves the Court, pursuant to Federal Rules of Criminal Procedure 8

and 14, to sever his case from those of his co-defendants.

        1. Standard of Review

        An indictment may charge two or more defendants “if they are alleged to have

participated in the same act or transaction, or in the same series of acts or transactions,

constituting an offense or offenses.” Fed. R. Crim. P. 8(b). “For proper joinder under this

provision, it is not necessary that every defendant have participated in or be charged with each

offense.” United States v. Warfield, 97 F.3d 1014, 1019 (8th Cir. 1996) (internal quotation and

citation omitted). “[R]arely, if ever, will it be improper for co-conspirators to be tried together.”

Id. (citing United States v. Jackson, 64 F.3d 1213, 1217 (8th Cir. 1995)).

        The Federal Rules of Criminal Procedure also provide that if joinder creates prejudice to

either the Government or a defendant, the Court may sever a trial “or provide any other relief

that justice requires.” Fed. R. Crim. P. 14(a). However, “[i]f, under Rule 8, joinder is proper,

then the defendant seeking severance has a ‘heavy burden’ in demonstrating that a joint trial will

impermissibly infringe his right to a fair trial.” United States v. Hopkins, No. 11–230

(DWF/SER), 2011 U.S. Dist. LEXIS 127071, at *25–26 (D. Minn. Oct. 5, 2011) (citing

Warfield, 97 F.3d at 1019). “There is a preference in the federal system for joint trials of



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defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537 (1993); see

also United States v. Clay, 579 F.3d 919, 927 (8th Cir. 2009). “Joint trials play a vital role in the

criminal justice system,” because they achieve certain efficiencies, and because they “avoid[ ]

the scandal and inequity of inconsistent verdicts.” Richardson v. Marsh, 481 U.S. 200, 209-10

(1987). “Only in an unusual case will the prejudice resulting from a joint trial be substantial

enough to outweigh the general efficiency of joinder.” Clay, 579 F.3d at 927 (citing United

States v. Al–Esawi, 560 F.3d 888, 891 (8th Cir. 2009)). “The risk of prejudice posed by joint

trials is best cured by careful and thorough jury instructions.” United States v. Mickelson, 378

F.3d 810, 818 (8th Cir. 2004).

       2. Analysis

       Defendant’s motion to sever is conclusory and articulates no specific facts demonstrating

either (1) that joinder of the defendants was improper under Rule 8(b), or (2) that continued

joinder will create prejudice sufficient to warrant severance pursuant to Rule 14. Defendant

offers only a conclusory assertion that the majority of the evidence in this case involves the other

Defendants and would be prejudicial to his case.

       Defendant’s motion as submitted on the present record is insufficient to sustain his heavy

burden to demonstrate that severance is warranted. The Court could summarily recommend

denying Defendant’s motion on this basis alone. However, in an abundance of caution, the Court

notes that in addition to the fact that Defendant has failed to sustain his burden, the underlying

alleged facts relevant to the present case indicate that joinder was indeed proper under Rule 8(b)

and that severance pursuant to Rule 14 is not warranted on the present record.

       The underlying alleged facts articulated in support of the Indictment indicate that the

Defendants participated in the same series of acts or transactions constituting the charged



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offenses. See Fed. R. Civ. P. 8(b). The facts as set forth in the Indictment and in the testimony at

the motions hearing indicate that the Defendant Alonzo and the other defendants, acting together,

conspired with others to possess, with intent to distribute, controlled substances including heroin,

methamphetamine, oxycodone, hydromorphone, hydrocodone, and methadone. (Indictment,

[Docket No. 1]). Accordingly, under Rule 8(b), joinder of the Defendants was proper where

“they are alleged to have participated in the same act or transaction, or in the same series of acts

or transactions, constituting an offense or offenses[,]” and it is not necessary that each Defendant

have participated in each offense. Warfield, 97 F.3d at 1019 (citing Fed. R. Crim. P. 8). The facts

set forth in the Indictment in the present case and in the testimony at the October 20, 2015,

motion hearing, indicate that Defendant, along with other co-defendants and alleged co-

conspirators, “did, among other things, facilitate, supervise, manage, transport, maintain

residences, receive and transfer funds, and distribute controlled substances during the course of

the conspiracy.” (Indictment, [Docket No. 1], at ¶ 11).

       Because joinder of the Defendants was proper under Rule 8(b), Defendant necessarily

bears the heavy burden of demonstrating that a joint trial will impermissibly infringe on his right

to a fair trial. Nothing in the record presently before the Court indicates that Defendant stands to

incur any specific prejudice attributable to joinder of the Defendants that would be sufficient to

warrant severance.

       Defendant’s conclusory assertion that the majority of the evidence pertains to other

Defendants and would prejudicial to his case, is similarly insufficient to show Defendant will

incur any specific prejudice attributable to joinder of the Defendants that would be sufficient to

warrant severance.




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       In Bruton v. United States, 391 U.S. 123, 124 (1968), the petitioner and a co-defendant

had been convicted of armed robbery in a joint trial after a postal inspector testified that Bruton’s

codefendant had confessed and had “expressly implicat[ed]” the petitioner. Id. at n.1. The trial

court instructed the jury that the co-defendant’s confession “if used, can only be used against the

[co-defendant]. It is hearsay insofar as the [petitioner] is concerned, and you are not to consider it

in any respect to the [petitioner], because insofar as he is concerned it is hearsay.” Id. at 125 n. 2.

The Supreme Court, however, concluded that:

       [T]he introduction of [the co-defendant’s] confession posed a substantial threat to
       the petitioner’s right to confront the witnesses against him, and this is a hazard we
       cannot ignore. Despite the concededly clear instructions to the jury to disregard
       [the co-defendant’s] inadmissible hearsay evidence inculpating petitioner, in the
       context of a joint trial we cannot accept limiting instructions as an adequate
       substitute for petitioner’s constitutional right of cross-examination. The effect is
       the same as if there had been no instruction at all.

Id. at 137. For that reason, the Supreme Court reversed the petitioner’s conviction in Bruton. Id.

at 126, 137.

       However, even the Bruton court suggested that redaction from co-conspirator testimony

may be sufficient to cure any prejudice caused by the introduction of a co-defendant’s

incrimination statement, and acknowledged that “[n]ot every admission of inadmissible hearsay

or other evidence can be considered to be reversible error unavoidable through limiting

instructions.” Id. at 134 n. 10, 135. In Richardson v. Marsh, 481 U.S. 200 (1987), the Supreme

Court further distinguished between co-defendant statements that are “facially incriminating,”

and statements which merely are “incriminating by connection.” Id. at 209. When a co-

defendant’s statement is facially incriminating of the defendant, redaction or even severance may

be required because it is more difficult for jurors to set aside such evidence. Id. at 208. However,




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the Court rejected the suggestion that the rule in Bruton extend to confessions that are

incriminating by connection as both impractical and unnecessary. Id. at 208–09.

       In the present case, Defendant has not supported his motion by identifying any specific

incriminating co-defendant statements that he believes would, if introduced at trial, prejudice

him. Moreover, Defendant has not articulated any specific reason why the jury would be unable

to compartmentalize any redacted statements or evidence upon being given proper instruction by

the Trial Judge to do so. (See, gen. Def.’s Motion for Severance, [Docket No. 669]).

       As articulated above, there is a strong preference in the federal system for joint trials. In

light of that preference, and at this early juncture, where Defendant can only invite the court to

speculate as to what evidence the Government might actually seek to introduce at a joint trial,

severance is not, at this time, appropriate. “Severance is a remedy that can be provided at the

time of trial if appropriate under the circumstances.” United State v. Billups, No. 06-cr-129

(PJS/AJB), F. Supp. 2d 697, 706 (D. Minn. 2006).

       For all the reasons articulated above, the Court recommends DENYING Defendant’s

Motion for Severance, or in the Alternative, to Join in the Co-defendant’s Motions, [Docket No.

669], without prejudice, to the extent Defendant seeks severance of his case from those of his co-

defendants.

       B. Co-defendant Motions

       Defendant also alternatively moves the Court for an Order allowing him to adopt all of

the pretrial motions of all of his co-defendants.

       The Court notes that other courts faced with motions for blanket authorization to join in

all motions of co-defendants, like the motion here, have denied such motions as fatally vague in

the absence of the movant’s statement identifying each specific co-defendant motion he wished



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to join, as well as, his basis for standing and the specific factual and legal basis for joining in

each motion. See, e.g., United States v. Harvey, No. 02:12-CR-113, 2014 WL 657595, at *3

(W.D. Pa. Feb. 20, 2014) (requiring a defendant moving to join in co-defendant’s motion to file a

separate statement of joinder establishing standing and the factual and legal basis for a joint

application, even where the motion was unopposed); see also, e.g., United States v. Johnson, No.

08 CR 466, 2008 WL 5111166, at *3 (N.D. Ill. Dec. 3, 2008) (concluding that motion to join in

all motions of co-defendants was fatally vague). The undersigned finds persuasive the practice

of those courts that have required a defendant seeking to join in co-defendants’ motions to

specifically identify in his motion papers: 1) each co-defendant motion which he is seeking to

join; 2) to allege a basis for standing in each such motion; and 3) to allege his legal and factual

basis for joining in each such motion. Here, Defendant has not specifically identified in any way

whatsoever his basis for standing to join in any pre-trial motions filed by his co-defendants, nor

has he offered any specific factual or legal basis for joining in any pretrial motion filed by his co-

defendants.

         Accordingly, the Court will DENY Defendant Alonzo’s Motion for Severance or, in the

Alternative, to Join the Co-Defendant’s Motions, [Docket No. 669], to the extent that Defendant

Alonzo seeks to the join in all of the motions of all his co-defendants.

   VI.      CONCLUSION

         A. Based on the foregoing and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Defendant Alonzo’s Motion for Severance or, in the Alternative, to

Join the Co-Defendant’s Motions, [Docket No. 669], is DENIED, to the extent it seeks leave to

join in all of the pretrial motions of all of Defendant Alonzo’s co-defendants.




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       B. Based on the foregoing and all the files, records, and proceedings herein, IT IS

HEREBY RECOMMENDED:

       1. That Defendant Beaulieu’s Motion to Suppress Evidence and Statements, [Docket

           No. 855], be DENIED, as set forth above;

       2. That Defendant Alonzo’s Motion for Severance or, in the Alternative, to Join the Co-

           Defendant’s Motions, [Docket No. 669], be DENIED without prejudice, to the

           extent that it seeks severance of Defendant Alonzo’s case from that of his co-

           defendants;

       3. That Defendant Alonzo’s Motion to Suppress Evidence Found in Vehicle, [Docket

           No. 671], be DENIED, as set forth above; and,

       4. That Defendant Alonzo’s Motion to Suppress Defendant’s Statements, Admissions,

           and Answers, [Docket No.672], be DENIED, as set forth above.



Dated: December 3, 2015                                    s/ Leo I. Brisbois
                                                           Leo I. Brisbois
                                                           U.S. MAGISTRATE JUDGE


                                         NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the District
Court and is therefore not appealable directly to the Eighth Circuit Court of Appeals.

Under Local Rule 72.2(b)(1), “A party may file and serve specific written objections to a
magistrate judge’s proposed findings and recommendation within 14 days after being served
with a copy of the recommended disposition[.]” A party may respond to those objections within
14 days after being served a copy of the objections. LR 72.2(b)(2). All objections and responses
must comply with the word or line limits set forth in LR 72.2(c).

Under Advisement Date: This Report and Recommendation will be considered under
advisement 14 days from the date of its filing. If timely objections are filed, this Report and
Recommendation will be considered under advisement from the earlier of: (1) 14 days after the
objections are filed; or (2) from the date a timely response is filed.

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